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     1                         UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
     2                                MIAMI DIVISION
                           CASE NO. 12-20291-CRIMINAL-ALTONAGA
     3

     4   UNITED STATES OF AMERICA,                Miami, Florida

     5                     Plaintiff,             February 25, 2013

     6               vs.                          12:44 p.m. to 1:04 p.m.

     7   ARMANDO GONZALEZ,

     8                  Defendant.          Pages 1 to 13
         ______________________________________________________________
     9

   10                            SENTENCING HEARING
                     BEFORE THE HONORABLE CECILIA M. ALTONAGA,
   11                       UNITED STATES DISTRICT JUDGE

   12

   13    APPEARANCES:

   14
         FOR THE GOVERNMENT:            WILLIAM J. PARENTE, JR., ESQ.
   15                                   ASSISTANT UNITED STATES ATTORNEY
                                        99 Northeast Fourth Street
   16                                   Miami, Florida 33132
                                                 -and-
   17                                   ALLAN J. MEDINA, ESQ.
                                        U.S. DEPARTMENT OF JUSTICE
   18                                   CRIMINAL DIVISION - FRAUD SECTION
                                        1400 New York Avenue NW
   19                                   Washington, DC 20530

   20    FOR THE DEFENDANT:             JOAQUIN J. PEREZ, ESQ.
                                        6780 Coral Way, Suite 200
   21                                   Miami, Florida 33155

   22    FOR US PROBATION:              DEMESHA EDWARDS

   23    REPORTED BY:                   LISA EDWARDS, RDR, CRR
                                        Official Court Reporter
   24                                   400 North Miami Avenue
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     1             THE COURT:    United States of America and Armando

     2   Gonzalez.

     3             MR. PARENTE:    Good afternoon, your Honor.       William

     4   Parente and Allan Medina on behalf of the United States.

     5             MR. PEREZ:    Good afternoon.    Joaquin Perez appearing on

     6   behalf of Armando Gonzalez, together with José Villanueva.            And

     7   we're here for sentencing.

     8             THE COURT:    Good afternoon.

     9             From Probation?

   10              THE PROBATION OFFICER:      Good afternoon, your Honor.

   11    Demesha Edwards on behalf of US Probation.

   12              THE COURT:    Mr. Gonzalez, good afternoon.       We're here

   13    for your sentencing hearing.       Have you had the opportunity of

   14    reviewing with your attorney the presentence investigation

   15    report?

   16              THE DEFENDANT:    Yes, ma'am.

   17              THE COURT:    I'll hear first from the Government and

   18    then from defense.

   19              MR. PARENTE:    Yes, your Honor.

   20              As you're aware, there is a plea agreement in this

   21    case.   And the parties have worked out certain agreements.           I

   22    struggled a little bit with my comments today because of the

   23    existence of the plea agreement and the cooperation that

   24    Mr. Gonzalez has given to date, which I'll cover.

   25              That being said, I think the Court, having sat through
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     1   the various sentencings, is very familiar with the facts in

     2   this case, recognizes that Mr. Gonzalez was the leader and

     3   organizer of a conspiracy that ran seven years, spanned two

     4   states, and the impact that that had on the Medicare system.

     5             I think it's also worth mentioning again that the

     6   Government has to point out the fact that as a result of

     7   Mr. Gonzalez's conduct, it's had a significant impact on a

     8   number of individuals who have been before this Court in terms

     9   of their careers, their families and ultimately their lives

   10    because of the conduct that Mr. Gonzalez orchestrated during

   11    the period of the conspiracy.

   12              That being said, I want to be clear that since late

   13    2012, November-December 2012, the Government has met with

   14    Mr. Gonzalez on two occasions.       On both of those occasions, the

   15    Government found him to be very forthright in terms of his

   16    conduct over the seven years of the conspiracy.          Because of his

   17    cooperation, the Government was able to locate thousands of

   18    documents stored in Miami related to the healthcare fraud

   19    conspiracy, both in Miami and North Carolina.

   20              In addition, Mr. Gonzalez has provided information on

   21    all of the individuals that were identified in the superseding

   22    indictment, Ms. Pampin, Dana Gonzalez, Lisset Palmero and Alina

   23    Feas.   Because of that cooperation, the Government was able to

   24    move forward in a timely fashion with that indictment, using

   25    the documents that were recovered down in Miami.
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     1             It also -- those documents also enabled the Government

     2   and the investigators to crystallize some of the theories

     3   against the remaining Defendants, including Mr. Layman and

     4   Ms. Eason.    There were specific documents that were able to

     5   link activity in Miami at the Healthcare Solutions Network East

     6   location to the fraud occurring up in North Carolina.

     7   Essentially, notes that were being generated down here in Miami

     8   were being used to document the fraud that was occurring in

     9   North Carolina; and specifically, there were internal records

   10    that were recovered that assisted the investigation.

   11              His cooperation is ongoing.      The Government has a plea

   12    agreement, as I mentioned, your Honor.        We're recommending a

   13    low-end sentence.

   14              We are not prepared at this time to make a motion to

   15    reduce Mr. Gonzalez's sentencing.        It's unclear whether or not

   16    we'll call him in the trial against Ms. Eason, assuming that

   17    goes forward in April.

   18              I don't think I have anything else, your Honor.

   19              Thank you.

   20              THE COURT:    Thank you.

   21              Mr. Perez?

   22              MR. PEREZ:    I don't have much to add to what was

   23    presented.

   24              I can advise the Court that Mr. Gonzalez from the

   25    outset recognizes responsibility in this case.          And through me,
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     1   he met with the prosecutor and other members of the law

     2   enforcement community.      As a result of those meetings, as the

     3   prosecutor has indicated, indictments were returned against

     4   three or four additional individuals; and also, his agreement

     5   to testify was instrumental in persuading all the people,

     6   particularly Mr. Layman, to enter a plea.

     7             Having said that, pursuant to the plea agreement, we

     8   cannot ask for variance.      I'm not asking for a variance.       But I

     9   am asking for the low end of the sentencing guidelines, which

   10    would be 135 months.

   11              This is a significant sentence which sends a message to

   12    the community.     But it also takes into account the steps that

   13    Mr. Gonzalez has been taking in order to correct the mistakes

   14    he made in the past.

   15              I don't know if the Court has any questions.

   16    Basically, of course, I'm asking for the low end of the

   17    sentencing guidelines, which is 135 months.         Unless the Court

   18    has any questions, that's the extent of my presentation.

   19              THE COURT:    I do not.

   20              Thank you.

   21              Mr. Gonzalez, is there anything you would like to say

   22    before I pronounce sentence?

   23              THE DEFENDANT:    Yes, ma'am.

   24              Summarizing words, I'm very ashamed of my conduct.

   25    I've not only shamed myself; I've shamed my family, my
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     1   children.    I've lost in the process my wife and my kids.           I've

     2   shamed this government.      I am trying to do what I can to assist

     3   in finalizing this case.

     4             Thank you.

     5             THE COURT:    Thank you.

     6             Before I pronounce the sentence, I want to alert the

     7   attorneys about my thought process in the event that you would

     8   like to say anything additional.

     9             It is not my intention to sentence Mr. Gonzalez to the

   10    low end of the guidelines.       Quite the contrary.     And I can

   11    explain my reasons why.      I'll give you an opportunity to say

   12    anything in that regard before I sentence him.

   13              MR. PEREZ:    Can you give us one minute?

   14              THE COURT:    Certainly.

   15              (Discussion had off the record amongst counsel.)

   16              MR. PARENTE:    Your Honor, I spoke to Mr. Perez.       In the

   17    past, he has spoken about his concerns.

   18              The Government entered into a plea agreement in this

   19    case.   Part of the reason, as the Court is well aware, that the

   20    plea agreement is used is to provide certainty of the

   21    sentencing process.

   22              The Government is well aware of Mr. Gonzalez's conduct,

   23    the severity of it and the impact it has had on the community

   24    and the Medicare system.

   25              That being said, he has provided significant
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     1   cooperation to date.      I expect the cooperation to continue.

     2   But the Government is recommending that he be sentenced within

     3   the parameters of the plea agreement and the terms of the

     4   agreement between the parties.

     5             THE COURT:    I understand.

     6             Mr. Perez?

     7             MR. PEREZ:    Having once had a similar situation before

     8   the Court -- I remember the prosecutor at the time was Willie

     9   Ferrer, who is now the US Attorney -- I knew that this was

   10    likely to happen.      I mentioned to the Defendant that the Court

   11    had very strong feelings about this type of case.

   12              The only thing that I can suggest is that if the Court

   13    wants to proceed -- I don't know if the Court will entertain to

   14    delay the sentencing in order to allow the cooperation to be --

   15    against --

   16              THE COURT:    It's not my practice, Mr. Perez.

   17    Cooperation is a separate matter from what is the appropriate

   18    sentence for the crime committed.

   19              MR. PEREZ:    I understand, although I'll tell you, in

   20    other districts, typically cases get delayed so that the person

   21    can express their cooperation.

   22              All I can hope is that if and when we return before the

   23    Court, the Court takes into account what happened here.           And if

   24    and when the Government, assuming they file a motion for

   25    sentence reduction -- obviously, the Court can take the
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     1   cooperation, which it is of course entitled to do, and the

     2   recommendation by the Government in order to bring about a

     3   resolution of the case; and perhaps it will be consistent with

     4   the efforts that Mr. Gonzalez is making to provide assistance

     5   to the Government.

     6             THE COURT:    Thank you.

     7             Anything else, Mr. Gonzalez?

     8             MR. PEREZ:    No.

     9             THE COURT:    The advisory guidelines here recommend a

   10    sentence of between 135 to 168 months based upon an offense

   11    level of 33 and a criminal history category of I.

   12              There is no objection to how the advisory guidelines

   13    have been applied.

   14              The next step at sentencing, of course, is to address

   15    the factors in 18 United States Code Section 3553.          And it is

   16    no surprise to the parties that one of those factors which

   17    bears strongly in my decision-making in this type of a case is

   18    the seriousness of the offense committed.

   19              Seven years, over $28 million stolen from the Federal

   20    Government's Medicare program in two states involving numerous

   21    participants.     Brazen, calculated, committed by a man whose

   22    background and age are similar to my own, coming from the same

   23    community, aware of what the issues are here in South Florida,

   24    taking those issues to North Carolina in full and complete

   25    disregard of the crisis that we face as a nation, as a people,
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     1   in keeping the Medicare program alive to give medical care to

     2   those who desperately need it, all for enriching himself.           The

     3   seriousness of the offense under 3553 is a factor that

     4   militates strongly in favor of not a sentence at the low end,

     5   but at the high end.

     6             Deterrence:    What does it take to stop others from

     7   doing this?     There is no end in sight.     And I think only

     8   significant sentences, significant prison time, widely

     9   publicized, may have that effect.

   10              Those are the two primary factors in my mind that call

   11    out for a sentence at the high end, if not higher, for

   12    Mr. Gonzalez.     Frankly, even at the high end, it's not long

   13    enough to account for the wrongs committed, the way in which

   14    they were committed, the knowing and deliberate way in which

   15    they were committed.

   16              It is the judgment of the Court that the Defendant,

   17    Armando Gonzalez, is committed to the Bureau of Prisons to be

   18    imprisoned for 120 months as to Count 1 and 168 months as to

   19    Count 11, to be served concurrently.

   20              I find the Defendant is not able to pay a fine as well

   21    as restitution.     No fine is imposed.

   22              The Defendant will pay restitution jointly and

   23    severally with his Co-Defendants and Sarah Da Silva Keller in

   24    Case No. 12-20289-Criminal-Cooke and Alba Serrano in Case No.

   25    12-20285-Criminal-Seitz in the amount of $28,092,283.59.
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     1              During incarceration, payment shall be as follows:         If

     2    the Defendant earns wages in a Federal Prison Industries job,

     3    he must pay 50 percent of wages earned toward the financial

     4    obligations imposed.

     5              If the Defendant does not work in a Federal Prison

     6    Industries job, he must pay a minimum of $25 per quarter toward

     7    the financial obligations imposed.

     8              Upon release from incarceration, the Defendant will pay

     9    restitution at the rate of 15 percent of monthly gross earnings

    10    until such time as the Court alters that payment schedule in

    11    the interest of justice.

    12              The US Bureau of Prisons, the US Probation Office and

    13    US Attorney's Office will monitor the payment of restitution

    14    and report to the Court any material change in the Defendant's

    15    ability to pay.

    16              These payments do not preclude the Government from

    17    using any other anticipated or unexpected financial gains,

    18    assets or income of the Defendant to satisfy restitution.

    19              Restitution is to be made payable to the Clerk of the

    20    United States Courts and in turn to be forwarded to the victim.

    21              Upon release from incarceration, the Defendant will be

    22    on supervised release for three years.        Within 72 hours of

    23    release, the Defendant will report in person to the probation

    24    office in the district to which he is released.

    25              While on supervised release, the Defendant will not
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     1    commit any crime; he is prohibited from possessing a firearm or

     2    other dangerous device; he will not possess a controlled

     3    substance; he will cooperate in the collection of DNA; he will

     4    comply with the standard conditions of supervised release,

     5    including the following special conditions:

     6               The Defendant is to perform 300 hours of community

     7    service.    He is to comply with the financial disclosure

     8    requirement, no new debt restriction and healthcare business

     9    restriction, all of which are noted in Part G of the

    10    presentence investigation report.

    11               The Defendant will pay to the United States a special

    12    assessment of $200.

    13               I understand there is to be forfeiture; and that being

    14    the case, the Government is to supply a proposed order of

    15    forfeiture within three days.

    16               Now that sentence has been imposed, does the Defendant

    17    or his attorney object to the Court's findings or the manner in

    18    which sentence was pronounced?

    19               MR. PEREZ:   No, we do not.

    20               THE COURT:   Mr. Gonzalez, you have the right to appeal

    21    the sentence.    Any notice of appeal must be filed within 14

    22    days after entry of the judgment.        And if you're unable to pay

    23    the cost of an appeal, you may apply for leave to appeal in

    24    forma pauperis.

    25               Is there anything additional?
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     1              MR. PARENTE:    There is one, your Honor, related to

     2    forfeiture.    The Government previously filed in this case a

     3    temporary order of forfeiture in Docket Entry No. 345.          Can we

     4    incorporate that as part of the J&C by reference?

     5              THE COURT:    Very well.

     6              MR. PARENTE:    Thank you.

     7              MR. PEREZ:    The Defendant has waived his right to an

     8    appeal pursuant to the agreement.

     9              One of the problems in this type of cases in moving so

    10    quickly to sentencing is that there will be a very significant

    11    amount of work that needs to be done in the future.          In cases

    12    like this -- I was appointed to represent Mr. Gonzalez.          It

    13    will be -- there will be a period of time in which he will be

    14    without an attorney.

    15              And I just want the Court -- I don't plan to appeal

    16    this case.    But that's one of the concerns that I have whenever

    17    sentencing occurs so quickly and then really the bulk of the

    18    work has to be done in the future, hopefully leading up to some

    19    form of sentence reduction as a result of his cooperation.

    20              THE COURT:    Anything else, gentlemen?

    21              MR. PARENTE:    Not from the Government, your Honor.

    22              THE COURT:    You all have a good day.

    23              MR. MEDINA:    Thank you.

    24              (Proceedings concluded.)

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     1
                                  C E R T I F I C A T E
     2

     3               I hereby certify that the foregoing is an

     4    accurate transcription of the proceedings in the

     5    above-entitled matter.

     6

     7
          ____________           /s/Lisa Edwards
     8        DATE               LISA EDWARDS, RDR, CRR
                                 Official United States Court Reporter
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